Exhibit

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Case 3:23-cv-00340 Document 56-18 Filed 03/13/24 Page 1 of 8 PagelD #: 872

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Case 3:23-cv-00340

LEGAL FEE SUMMARY

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Document 56-18 Filed 03/13/24

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(TO BE COLLECTED

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2023-FSA-04037-FP Lea 301
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LEGAL FEE SUMMARY

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Filed 03/13/24

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LEGAL FEE SUMMARY

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CUSTOMER NAME:
2307 New Cal KA Mater
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(TO BE COLLECTED
FROM CUSTOMER)
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2023-F SA-04037-FP Lea 303
Reynolds, Johnston, Hinton & Pepper, LLP.

March 20, 2009

310 East 11th Ave
P.O, Box 4000
Bowling Green, KY 42102-4000
Phone: 270-782-3636
FAX: 270-781-8260

Bill Number

Farmers National Bank

Attn: Gloria Lyles

409119 00000

$13 C2. GF

948 Fairview Avenue
Bowling Green, KY 42101

Farmers National Bank vs. Corey Lea, Inc.
2307 New Cut Road, Alvaton, KY

PROFESSIONAL SERVICES

01/07/2009

01/21/2009
01/22/2009

01/23/2009

01/26/2009

01/27/2009

01/29/2009

02/09/2009

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Conference call with Dan Harbison and review
of file;

Call from Dan Harbison; Call Gloria Liles;

Calls with Gloria Liles and set up meeting;
Check on Mechanics Lien;

Receipt and review of loan documents, run
title, and copy liens for foreclosure;

Call Gloria Lyles; Go over title work; Prepare
draft of Foreclosure Complaint; Prepare Lis
Pendens, Affidavit Verifying Complaint and
Summonses; Dictate letter to Gloria Lyles and
e-mail Affidavit; Letter to attorneys for lien
creditors.

Conference call from Chris Young and Jason
Jones;

Edit Foreclosure Complaint and document
assembly; Internet search for Lea's new
address; Call Gloria Lyles; Research KRS
271B.5-040 regarding service on corporation
when registered agent is not able to be located.

Revise Foreclosure Complaint and certified
mailing pursuant to KRS 271B.5-040(2),
Prepare Affidavit; Calls with Jason Jones,
Chris Young and Tony Cardwell to obtain
approval to file limited Answers/Cross-Claim
admitting priority of Farmers National Bank;
Confirmation letters; File action at Justice
Center; Trip to Sheriff's office and County

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0.20 hrs.

0.20 brs.
0.40 hrs.

1.00 hrs.

2.25 hrs.

0.20 hrs.

1.00 hrs.

1.60 hrs.

LFH

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This form is available electronically. Farm Approved - OMB No, 0560-0155

| FSA-2254 U.S. DEPARTMENT OF AGRICULTURE
(09-03-10) Farm Service Agency
GUARANTEED LOAN.REPORT OF LOSS
1, Borrower's Name 2. FSA 1D Number
Corey Lea, Inc. 636966522
3. State/County Code (For FSA Use Only) 4. Agency Loan Number
21-014 50
5. Report Type Code 6. Loan Type -
02 FO
7. interest Rate 8A. Lender's identification Number 88. Lender's Granch Number
6.5 610198494 002
9. Lender's Routing Number 10. Lender's Account Number
083902646 24651524
14. Lender's Account Type 12. Payment Type Code (For FSA Use Only)
Cc
13. Payment Date (For FSA Use Only) 14. Date of Deposit (For FSA Use Only)
15, Date of Settlement 16. Original Loan Amount
Par 18> 8O14 $ 180,000.60
17. Original Date of a 18. Percent of Guaranteed Portion Held by Lender
LO-25~2007 90 %
ae MOE ine ie Orel
Guaranteed Loan Items: Adjustments:
19. Principal Balance $ 177,452.54) 35. Funds Being Held $
20. Accrued Interest Owed $ 6,275,531] 36. Income to be Applied to Debt $
21, Emergency Advances $ 37. Borrower's Debt Payment Ability-Present Value $
22, Total Guaranteed Loan items (items 19+20+27) $ 183,728.07| 38. Other Deductions 3 -
Protective Advances/Legal Expenses: 39. Total Adjustments (items 35+36+37 +438) $
23. Principal Balance on Protective Advances $ Loss Guaranteed:
24. Accrued Interest on Protective Advances $ 40. Basic Loss (Items {(22+254+26)-34]-39) $ 9,523.65
25. Total Protective Advances (liems 23+24) $ 41. Percent of Loss Guarantee 96 %
26. Legal Expenses $ 42. Maximum Loss (llems 40x41) $ 8,571.29
Collateral: Adjustments to Protective Advances & Interest:
27. CGollateral/Proceeds $ 345,743.23| 43. Total Protective Advance Payment (tems 25x41) | $
28. Value of Personal and Corporate Guarantee $ 44. Legal Expenses Payment (llems 26X41) $
29. Total Collateral (tems 27428) § 345,743.23 | © iHome 42 (434 44)x70). Guarantee $ &S74.99
meee tie at eu _Amount Due Lender or FSA:
30. Liquidation Cost $ 154,364.54] 46. Amount Due Lender (Items 43+-44+45) $ S&S
31, Prior Liens $ 47. Amount Paid on Estimated Loss 3
32. Unpaid Taxes, Assessments, Ground Rents $ 16,574.27| 48. Balance Due Lender (ltems 46-47) (If positive) $ BS. a4
33. Total Prior Liens/Liquidation Exp. tems 30431432} $ 171,538.81| 49. Amount of Overpayment (items 46 - 47) (if negative) | $
. Net Collateral it $ 9 50. Interest on Overpayment $
= $

51. Amount due FSA by Lender (items 49+50)
. Additional Interest indicator (For FSA Use Only)
. Principal Portion of Loss Claim (For FSA Use Only)

55. Name of Lender
armers National Bank

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ain ea fe eye
; 57, FSA Review Official Signatufe ‘ , 59. Date Approved
2 /

Cand Woumrsl 01/15/2015

The US. Department of Agdculture (USDA) prohibils discrimination in all of ils programs and activities on the basis of race, color, na¥onal origin, age, disability, and where applicable,
sex, marital status, familial status, parental status, religion, sexual orientation, political beliefs, genetic informatian, reprisal, or becauge all or part of an individual's income is denved
from any public assistance program, (Not all prohibiled bases apply to all programs.) Persons wilh disabilities who require altenrative means for communication of program
information (Braille, large print, audiolape, etc) shauld contact USDA's TARGET Center at (202) 720-2600 (voice and TDD). To file a complaint of discrimination, vente to USDA,
Assistant Secretary for Civil Rights, Olfice of the Assistant Secretary for Civil Rights, 1400 Independence Avenue, S.W.. Slap 9410, Washington, DC 20250-9410, or call toll-free at
(866) 632-9992 (English) or (800) 877-8339 (TDD) or (866) 377-8642 (English Federal-relay) or (800) 845-6136 (Spanish Federal-relay). USDA is an equal opportunity provider and

employer.

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2023-FSA-04037-FP Lea 1956
United States
Department of
Agriculture

Farm and Foreign
Agricultural
Services

Farm
Service
Agency

Kentucky State

FSA Office

774 Corporate Dr.
Ste. 100

Lexington, KY 40503

Phone:
859.224,7601
Fax: 859.224.7691

December 24, 2014

TO: Reynolds, Johnston, Hinton & Pepper, LLP
P.O. Box 4000
Bowling Green, Kentucky 42102
ATTN: Larry F. Hinton — Attorney at Law
Lindsay H. Hinton ~ Attorney at Law
FROM: Mike R. Hoyt
Farm Loan Chief, FSA
SUBJECT: Corey Lea, Inc.,

Guaranteed Final Loss Claim

We have received your and Farmers National Bank’s response on the Final Loss Claim involving Corey
Lea Inc. Several of us will be out the next several days because of the holiday season but plan to fully
review this information the first part of January once we get back.

In the meantime as requested, we wanted you to give you a copy of Par. 359 A out of the 2-FLP
handbook. This deals with the handling of the interest on the guaranteed loss claim in question. We
wanted you to have a-chance to review this part of the regulation and have an opportunity to discuss with
us if you disagree with our interpretation. We feel pretty clear we are handling this correctly according to

this regulation.

Once we have completed FSA’s review, if more information or a correction is needed from Farmers
National Bank, we will advise.

Any questions should be addressed to Earl Reynolds, Farm Loan Specialist at

Enclosure
Copy: Brian Turner, Farm Loan Manager /
Bowling Green FSA

Copy: Gloria Lyles, Vice President
Farmers National Bank

Case 3:23-cv-00340 uddAGunEqial GHodiRity PrhvilerhOtHsrye4 Page 7 of 8 PagelD #: 878

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66. Comments ~~]

Item i9 - This item has been changed from our prior submitted Report of Loss Form to match the Principal
Balance submitted by Farmers National Bank to PSA on 1/22/2010. The difference in principal balance
($177,452.54 as shown berein v. the prior $182,915.49) was due to including advances made by Farmers
National Bank to pay real property taxes and forced placed insurance. Those numbers are now reflected in
item 32 below as instructed in letter from Earl Reynolds/Mike R. Hoyt to Farmers National Bank dated
11/24/2014.

Ttem 20 - Per letter from Earl Reynolds/Mike R. Hoyt to Farmers National Bank dated 11/24/2014, the
accrued interest has been revised to $6,275.53 as shown on Farmers National Bank's Report of Loss Form
dated 1/22/2010. Farmers National Bank was completely unaware interest accrual was limited to 210 days
and requeats copies of Par. 359A of FLP-2.

Item 27 - $345,743.23 = total sales price plus bond interest paid to Warren County Master Commissioner by
Buyer of real property collateral for this loan.

Item 39 Liquidation Costs consists of the following:

$125,742.12 - Attorney fees as of July 2014 (invoices submitted previously showing this total)
4$27,422.42 - All fees paid by the Warren County Master Commissioner to sell real property collateral
+ $1,800.00 - Appraisal fee

= $154,964.54

Item 32 - Unpaid Taxes, Assessments, Ground Rents consists of the following:
3 tax bills paid by the Warren County Master Commissioner from Sales Proceeds:
$1,110.86 (2013 tax bill)
$3,070.34 (2008 tax bill)
$6,712.44 (2009 tax bill)
= $10,893.64
PLUS: 3 tax bills paid by Farmers National Bank during pending litigation
$990.08 (2010 tax bill)
$763.76 (2011 tax bill)
$672.23 (2012 tax bill)
= $2,426.07
PLUS: Expenditures by Farmers National Bank for forced placed insurance on the collateral
= $3,254.56
TOTAL = $16,574.27

NOTE: The following statement is made in accordance with the Privacy Act of 1974 (5 USC 552a - as amended). The authority for requesting the information
identified on this form is the Consolidated Farm and Rural Development Act, as amended (7 U.S.C. 1921 el. seq.). The information will be used to
determine eligibility and feasibility for loans and loan guarantees, and servicing of loans and loan guarantees. The information collected on this form
may be disclosed to other Federal, State, and local government agencies, Tribal agencies, and nongovernmental entities that have been authorized
access to the information by statute or regulation and/or as described in the applicable Routine Uses identified in the System of Records Notice for
USD/VESA-14, Applicant/Borrower. Providing the requested information is voluntary. However, failure to furnish the requested information may result
in a denial for loans and loan guarantees, and servicing of loans and loan guarantees. The provisions of criminal and civil fraud, privacy. and other
statues may be applicable to the inlormation provided,

According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person is not required to respond fo, a collection of
information unless it displays a valid OMB contro! number The valid OMB control number for this information collection is 0560-0155 The time
required to complete this information collection ts estimated lo average 25 hours per response, including the time for reviewing instructions, searching
existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. RETURN THIS
COMPLETED FORM TO YOUR COUNTY FSA OFFICE.

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